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Main OFFICE:
F . ; | } € Tt 1260 PARK CENTRAL BLYD SOUTH

 

ROBERT L, KAYE, B.C.5,*
MICHAEL §. BENDER, B,C.5.*
JEFFREY A, REMBAUM, 8.C.5.*
DEBORAH S. SUGARMAN

ANDREW 5, BLACK, B.C.5,*

PETER C, MOLLENGARDEN, B.G.S.*
GERARD 8, COLLINS

 
    

r POMPANO BEACH, FLS9064
q ' ’ TEL, (964) 928-0680
- : TYL PL. FAX (954) 773-0819

Attorneys At Law (800) 974-0680

 

 

HA . Brown, B.C.5,*

Tae GREEN 5 SYTZ WITH ADDITIONAL OFFICES In:
EMILY E. GANNON PALM BEACH GARDENS
DANIELLE M, BRENNAN Pein
LAUREN T. SCHWARZFELD

ALLISON L, HERTZ, B.C.8,* ABRL eg. al.Com .

ASHLEY R. TULLOCH BOARD CERTIFIED SPECIALIST IN
Jay S, LEVIN CONDOMINIUM AND PLANNED
KARINA N. SKEIE DEVELOPMENT LAW

OLIVIA L. CATO
KERSTIN HENZE, OF COUNSEL
Lisa A. MAGILL, B.C.S.*, OF COUNSEL

November 15, 2019

CERTIFIED MAIL NO: 91 7199 9991 7038 6010 0803
RETURN RECEIPT REQUESTED

Mr, and Mrs. Gregory Harold Pope
750 South Ocean Boulevard #1-5
Boca Raton, Florida 33432

RE: SABAL RIDGE APARTMENT ASSOCIATION, INC.
OUR FILE NO.: 20344.0001
PROPERTY ADDRESS: 750 South Ocean Boulevard #1-S
Boca Raton, Florida 33432
TOTAL OUTSTANDING: $69,035.80

Dear Mr, and Mrs. Pope:

This Firm represents SABAL RIDGE APARTMENT ASSOCIATION, INC. (the
* Association’). The Association has referred your delinquent assessments, as set forth below,
to the undersigned for collection. To avoid complications or errors with your account, all
inquiries and communication regarding this claim are to be directed to this Firm rather than
to the Association until such time as your account is no longer in collections with this Firm.

As you should be aware, the Declaration of Condominium for Sabal Ridge
Apartments, A Condominium (the “Declaration”) provides that the Association may file a
claim of lien against any unit that is delinquent in its assessments. Thereafter, the
Association may foreclose on its lien. The Declaration also provides that attorneys’ fees and
costs incurred in the collection of delinquent assessments are the responsibility of the unit
owner. Presently, the balance due and owing is computed on the attached account status -
report for your reference.

The following amounts are currently due on your account to the Association and must

Exhibit A
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Any questions concerning this matter should be directed to the Firm listed above,

Unless, within thirty (30) days after your receipt of this letter, you dispute the
validity of the amounts due (or any portion thereof), this Firm shall assume the debt
to be valid. If you notify this Firm in writing within the thirty (30) day period that the
aforesaid debt (or any portion thereof) is disputed, this Firm shall obtain written
verification of the amount due and verification will be mailed to you by. this Firm.

This Law Firm may be deemed a "debt collector" under the Fair Debt
Collection Practices Act. We are attempting to collect a debt, and any information
obtained will be used for that purpose only.

Federal law allows you to dispute the validity of a debt within thirty (30) days
of your receipt of this letter. However, the law does not require the Association or this
Law Firm to wait that entire period to attempt to collect the debt. For this reason, you
are required to make the payment as specified above. If you request proof of the debt
or the name and address of the original creditor within the thirty 0) day period that
begins with your receipt of this letter, this Law Firm will suspend its efforts (through
litigation or otherwise) to collect the debt until you are mailed the required
information.

PLEASE GOVERN YOURSELF ACCORDINGLY,

Very Truly Yours,

ANDREW B. BLACK

ABB/bcc
Enclosures
CC! Board of Directors
Addressee (Sent by Regular Mail)

KAYE BENDER REMBAUM, P.L,
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November 15, 2019

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be paid within thirty (30) days after your receipt of this letter. This letter shall serve as the
Association’s notice of intent to record a Claim of Lien against your property no sooner than

thirty (30) days after your receipt of this letter, unless you pay in full the amounts set forth
below: ,

Maintenance due from 04/01/16 through $ 120,223.30
10/01/19

Balance of Special Assessment due 04/01/16  $ 10,973.16
Special Assessment due 04/15/16 through $ 27,549.96
O1/15/19

Special Assessment due 09/15/16 $ 92,987.20
Special Assessment due 02/15/17 $ 92,987.20
Special Assessment due 04/15/19 $ 99,525.29
Interest through 11/15/19 $ 29,394.25
Certified mail charges $ 5.75
Other costs $ 4,90
Atiomeys fees $ 250,00
Less payments received $ ( 404,865.21
TOTAL OUTSTANDING $ 69,035.80

Interest accrues at the rate of 18% per annum,

In order to avoid any additional legal fees, interest and court costs, we encourage your

~ cooperation in paying the delinquency plus the expense incurred by the Association m the

total amount of $69,035.80 within thirty (30) days. Your failure to pay the delinquency, fees
and cost will result in a lien filed against your unit without further notice.

Please make your payment payable to Kaye Bender Rembaum, P.L. Trust
Account, and mail to:

KAYE BENDER REMBAUM, P.L.
1200 Park Central Boulevard South
Pompano Beach, Florida 33064
(800) 974-0680

**PAYMENTS ARE ONLY ACCEPTED IN THE POMPANO BEACH OFFICE **
PAYMENTS WILL NOT BE ACCEPTED IN PALM BEACH GARDENS OR TAMPA

KAYE BENDER REMBAUM, P.L,

 
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KAYE BENDER REMBAUM
ACCOUNT STATUS
11/15/2019

POPE , GREGORY HAROLD
POPE , MICHELE BERNADETTE
ASSOCIATION SABAL RIDGE APARTMENTS CLIENT ID# 20344.0001
UNIT # 1-8
STATUS COLLECTIONS
ADDRESS 750 SOUTH OCEAN BOULEVARD #1-S, BOCA RATON, FLORIDA 33432
ATTORNEY INTEREST RATE 18.00

CHARGE LATE ATTY LINE
DATE TYPE ASSESSMENT INTEREST FEES FEES COSTS APPLIED BALANCE
04/01/16 R 7,961,94 314.11 0,60 6,00 6.00 8,276.05 0.00
04/01/16 BISA 10,973.16 453.98 0.00 0,00 0,00 11,427.14 0.00
04/15/16 - S/A 2,295,83 130.20 0.00 0.06 0.00 2,426.03 0.60
07/01/16 R 7,561.94 180.26 0.00 0.00 0.00 8,142.20 0.00
07/15/16 SIA 2,295,83 90.57 6.60 0.00 0.00 2,386.40 6.00
09/15/16 S/A 92,987.20 947.65 0.00 0.00 0.00 93,934.85 0.00
10/01/16 R 7,961.94 482.05 0.00 0.06 0.00 8,443.99 0.00
10/15/16 S/A 2,295.83 174.99 0.00 0.00 0.00 2,470.73 0.00
O1/O1/A7T R 7,961.94 310,19 6.06 0.00 0.00 8,272.13 0.00
OL/15/17 S/A 2,295.83 73.59 0.00 0.00 0,00 2,369,42 0.00
02/15/17 SiA 92,987.20 3,419.35 0.00 0.00 0.00 96,406.55 0.00
04/01/17 R 7,961.94 782.61 0.60 6.00 0,00 8,744.55 0.06
04/15/17 STA 2,295.83 332.39 0.00 0.00 0.00 2,628.22 0,00
OT/OL/17 R 7,961.94 1,065.93 6.60 6.00 0.00 9,027.87 9.00
O7F/15/47 S/A 2,295.83 497.03° 0.00 0.00 0.00 2,792.86 0.00
10/01/17 R 7,96L94 2,060.95 0.06 0.00 ° 0.00 10,022.89 0.00
1O/US/17 S/A 2,295,83 653.28 0.00 0.06 6.00 2,949.11 6.06
01/01/18 R 7,961.94 1,983.38 0.06 0.06 0.00 9,945.32 0.00
01/15/18 SIA 2,295.83 598.94 . 0,00 0.00 6.00 2,894.77 0.00
04/01/18 R 7,961.94 1,778.67 0.00 0.00 0.00 9,740.61 0.00
04/15/18 S/A 2,295.83 497.04 6.00 0.00 0.00 2,792.87 0,00
07/01/18 R 7,961.94 1,421.36 0,00 0,00 0.00 9,383.30 0.00
07/15/18 S/A 2,295.83 394,01 6.00 0.00 0,00 2,689.84 6.00
LO/OL/18 R 7,961.94 1,060.14 0.00 0.00 0.00 9,022.08 9.00
10/15/18 S/A 2,295,83 289.85 6.00 8,00 0.00 2,585.68 0.00
OL/O1/19 R 8,160.49 716,33 0.00 0.00 0.60 8,876.82 0.00
01/15/19 S/A 2,295.83 185.69 0.00 0.60 0.08 2,481.52 6.00
04/01/19 R 8,160.49 354,14 0.00 0.00 0.06 8,514.63 0.00
o4/15/19 S/A 99,525.29 7,413.22 0.06 0.06 0.00 54,790.20 §2,148.31
O7/0L/19 R 8,160.49 551.34 0,00 0.80 0.00 398.41 $8,313.42
10AL/L9 R 8,160.49 181.10 0.00 0.00 6.00. 2817 8,313.42

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11/15/19 9 0.00 0.00 0.00 250,00 10.65 6.00 260.65
TOTAL
CHARGES $444,246.11 $29,394.25 $0.00 $280.00 $10.65 $473,901.01
APPLIED $376,736.09 $28,129.12 $0.00 $0.00 $0.00 $404,865.21
BALANCE $67,510.02 $1,265.13 $0.00 $250.00 $10.65 $69,035.80

BALANCE DUE $69,035.80

PAYMENT-HISTORY:
DATE PAYMENTS TYPE CHECK#
06/20/16 $7,061.94 A 00269
06/20/16 $8,627.33 A 00269
06/20/16 $2,295.83 A 00269
08/08/16 $7,961.94 A 00337
08/08/16 $2,295.83 A 00337
10/03/16 $42,987.20 A 00430
10/03/16 $50,000.00 A 00422
11/29/16 $7,961.94 A 00520
03/16/17 $7,961.94 A 98802
03/21/17 $56,000.00 A 00118
05/07/17 $42,987.20 A 00161
O8/07/17 $14,849.43 A 00271
10/19/17 $7,961.94 A 305
01/24/18 $2,295.83 A 313
02/08/18 $7,961.94 A 321
09/19/18 $2,295.83 A ASSOC
09/27/18 $7,961.94 A 60352
O3/85/19 $4,591.66 A 391
05/15/19 $15,923.88 A 00165
OS/15/19 $2,295.83 A 60265
06/28/19 $50,006.00 A §208
06/28/19 $49,525.29 A 00220

A 00364

10/08/19 $8,160.49

$404,865.21 TOTAL ASSOCIATION RECEIVED
$0.00 TOTAL RECEIVED INTO TRUST

 

 

$404,865.21 GRAND TOTAL RECEIVED

http://192.168.1.40/pm/pm_print_calculate.asp?unit= 20344,0001 &printtrue&date=11/,.. 11/14/2019
